

People v Colon (2023 NY Slip Op 04939)





People v Colon


2023 NY Slip Op 04939


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Ind. No. 2198/17 Appeal No. 690 Case No. 2018-04321 

[*1]The People of the State of New York, Respondent,
vJorge Colon, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nao Terai of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Shari R. Michels, J., at plea; Julio Rodriguez III, J., at sentencing), rendered August 23, 2018, convicting defendant of attempted robbery in the second degree, and sentencing him, as a second felony offender, to a term of five years followed by five years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Defendant was convicted before the enactment of CPL 420.35(2—a), which permits the waiver of surcharges and fees for persons who, like defendant, were less than 21 years old at the time of the subject crime. Based on our own interest of justice
powers, we vacate the mandatory surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose defendant's application.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








